
PER CURIAM.
The petition for certiorari filed herein, was denied November 4, 1964, without opinion. Bennett v. Fratus, Fla.App., 168 So.2d 792, Case No. 4. Thereupon petitioner applied to the Supreme Court of Florida, for a writ of certiorari directed to this Court. While this latter petition was pending in the Supreme Court of Florida, that court rendered its decision in Crews v. Dobson, 177 So.2d 202, opinion filed July 7, 1965, not yet reported, and its decision in Bennett v. Fratus, 177 So.2d 334, opinion filed July 21, 1965, not yet reported.
The Supreme Court of Florida has now returned jurisdiction of this cause to us. for further consideration in the light of the-foregoing decisions. See Bennett v. Fratus, *704177 So.2d 335, opinion filed July 21, 1965, not yet reported. See also Florida East Coast Railway Company v. Lewis, Fla.App., 167 So.2d 104.
We hereby vacate our prior order denying the petition for certiorari, and dismiss the petition in the exercise of our discretion not to review the interlocutory order at law which is the subject of the petition. This action is without prejudice to any further action by the trial court consistent with the cases cited above.
It is so ordered.
